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                                    UNITED STATES BANKRUPTCY COURT
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                                     EASTERN DISTRICT OF CALIFORNIA
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       6   In re                                        )    Case No. 18-90258-E-7
                                                        )    Docket Control No. JCW-1
       7   ANDREAS ABRAMSON,                            )
                                                        )    DATE:     October 18, 2018
       8                          Debtor.               )    TIME:     10:00 a.m.
                                                        )    DEPT:     E
       9
      10                    ORDER FOR ADEQUATE PROTECTION PAYMENTS
                                                 AND
      11                SETTING 10:00 A.M. OCTOBER 18, 2018 STATUS CONFERENCE
      12           The Motion for Relief from the Automatic Stay filed by Deutsche Bank National Trust
      13   Company, as trustee for WaMu Mortgage Pass-Through Certificates Series 2005-AR13 in interest,
      14   serviced by Select Portfolio Servicing, Inc. (“Movant”) having been presented to the court; Findings
      15   of Fact and Conclusions of Law being stated in the Civil Minutes for the hearing; upon review of
      16   the pleadings, evidence, arguments of counsel, and good cause appearing,
      17           IT IS ORDERED that the Debtor shall make monthly Adequate Protection Payments of
      18   $4,869.07 to Movant, with the first payment for the month of July being made on or before July 20,
      19   2018, and each monthly payment thereafter being made by the 10th day of each subsequent month.
      20           IT IS FURTHER ORDERED that if any Adequate Protection Payment is not timely made,
      21   Movant may seek a supplemental order (using the Docket Control Number for this Motion)
      22   modifying the automatic stay to allow it to foreclose on the Property and the purchaser to obtain
      23   possession of the property as follows:
      24           A.             Movant may seek relief from the automatic stay by ex parte motion based on
      25                  the failure of said timely performance of such condition. The ex parte motion shall
      26                  be filed using the same Docket Control Number as for this Contested Matter [DCN:
      27                  JCW-1]. The court waives the requirement to pay a filing fee for an ex parte motion
      28                  for relief from the automatic stay filed by creditor based solely on the failure of the
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       1                   condition stated above.
       2          B.               If Movant files an ex parte motion for such supplemental relief, the court
       3                   shall enter an order granting Creditor relief from the automatic stay pursuant to the
       4                   above ex parte motion if Debtor has not (1) filed an opposition to the ex parte motion
       5                   which is supported by admissible evidence and served the motion within 10 days of
       6                   the date the ex parte motion was served and (2) Debtor has set a hearing on the
       7                   objection to ex parte motion on the court’s first available regular law and motion
       8                   calendar that is more than twenty days from the date the ex parte motion was served.
       9                   The court authorizes the hearing to be set on the court’s relief from stay calendars
      10                   (for any Chapter under the Bankruptcy Code) in the Sacramento Division Courthouse
      11                   to ensure that Debtor can set it for the first available date for such a hearing in light
      12                   of the limited number of hearing dates available at the Modesto Division Courthouse.
      13                           If the opposition to the ex parte motion is not timely filed and served within
      14                   the ten-day period from the service of the ex parte motion, or the hearing on the
      15                   opposition to the ex parte motion is not set for the first available regular law and
      16                   motion date more than twenty days after the service of the ex parte motion, Creditor
      17                   shall lodge with the court a proposed order granting relief from the automatic stay.
      18                           The ex parte provisions for relief from the automatic stay are without
      19                   prejudice to Creditor seeking by separate motion relief from the automatic stay for
      20                   any grounds other than the failure of the condition for which relief may be requested
      21                   by ex parte relief.
      22          IT IS FURTHER ORDERED that the court continues this Contested Matter for a Status
      23   Conference, if necessary, to 10:00 a.m. on October 18, 2018.
      24               July 13, 2018
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                                Instructions to Clerk of Court
       2                             Service List - Not Part of Order/Judgment
       3   The Clerk of Court is instructed to send the Order/Judgment or other court generated
           document transmitted herewith to the parties below. The Clerk of Court will send the document
       4   via the BNC or, if checked ____, via the U.S. mail.
       5
            Debtor(s)                                        Attorney for the Debtor(s) (if any)
       6
       7    Bankruptcy Trustee (if appointed in the          Office of the U.S. Trustee
            case)                                            Robert T. Matsui United States Courthouse
       8                                                     501 I Street, Room 7-500
                                                             Sacramento, CA 95814
       9
            Select Portfolio Servicing, Inc.
      10    Attn: Jennifer Wong
            McCarthy & Holthus, LLP
      11    1770 Fourth Avenue
            San Diego, CA 92101
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